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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                          Case No. 07-61774-CIV-ALTONAGA/Brown

  JAMES K. FIANO,

         Plaintiff,

  vs.

  PALISADES COLLECTION, LLC,

        Defendant.
  _____________________________________/

                                 FINAL ORDER OF DISMISSAL

         THIS CAUSE is before the Court upon the parties’ Joint Stipulation for Dismissal with

  Prejudice [D.E. 38]. The Court having been advised that all claims and causes of action between or

  among the parties have been amicably resolved, it is hereby

         ORDERED AND ADJUDGED that the above-captioned case is DISMISSED WITH

  PREJUDICE, with each party to bear its own costs and fees except as otherwise agreed by the

  parties. All pending motions are denied as moot. The Clerk of the Court shall CLOSE THIS CASE

  and any pending motions are DENIED as moot.

         DONE AND ORDERED in Chambers in Miami, Florida this 22nd day of July, 2008.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE


  cc:    counsel of record
